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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 EASTON RAE LLC,
                               Plaintiff,
                                                                    21-CV-6234 (JPO)
                     -v-
                                                                          ORDER
 VIOLET GREY, INC.,
                               Defendant.


J. PAUL OETKEN, District Judge:

       Counsel for all parties are directed to appear telephonically for an initial pretrial

conference with the Court on December 3, 2021, at 11:30 a.m. Counsel should call (888) 557-

8511 at the scheduled time. The access code is 9300838. Counsel who appear at the pretrial

conference must be authorized to negotiate terms of settlement. Media and the public may join

but are instructed to place their phones on mute.

       Counsel are directed to confer with each other prior to the conference regarding

settlement and each of the other subjects to be considered at a Fed. R. Civ. P. 16 conference.

Counsel are further directed to use the Court’s Civil Case Management Plan and Scheduling

Order form (the “Form”) to jointly prepare a detailed written proposed schedule for any motions

and discovery. Counsel should type entries into this Form using a copy of the Form available at

https://nysd.uscourts.gov/hon-j-paul-oetken. The parties shall submit a copy of the completed

Form at least three business days prior to the date of the conference.

       If this case has been settled or otherwise terminated, counsel are not required to appear,

provided that a stipulation of discontinuance, voluntary dismissal, or other proof of termination

is sent prior to the date of the conference via email to the Orders and Judgment Clerk at the

following email address: orders_and_judgments@nysd.uscourts.gov.




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       All conferences with the Court are scheduled for a specific time; there is no other matter

scheduled for that time. Counsel are directed to appear promptly.

       Requests for adjournment may be made only in a writing received not later than two

business days before the conference. The written submission must (a) specify the reasons for the

adjournment, (b) state whether the other parties have consented, and (c) indicate times and dates

when all counsel are available. Unless counsel are notified that the conference has been

adjourned, it will be held as scheduled.

       The Clerk of Court is directed to close the motion at ECF 25.

       SO ORDERED.

Dated: November 3, 2021
       New York, New York

                                             ____________________________________
                                                        J. PAUL OETKEN
                                                    United States District Judge




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